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                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF LOUISIANA


CATHERINE BROWN                                                CIVIL ACTION


VERSUS                                                         NO. 21-1844


MINYANGO TOKPAH ET AL.                                         SECTION: “H”(1)


                             ORDER AND REASONS
      Before the Court is Defendant Theresa Brunson’s Motion to Dismiss
(Doc. 32). For the following reasons, this Motion is GRANTED.


                                   BACKGROUND
      Plaintiff filed this suit against Minyango Tokpah, Shakim Harris,
Theresa Brunson, and others (collectively, “Defendants”), alleging that each
had engaged to some degree in stalking, harassing, threatening, attacking,
intimidating, or defaming her through online activity.1 Generally, Plaintiff
claims that Defendants are individuals using online platforms like YouTube to
engage in “cyber and online harassment” that began around October 1, 2020
and has persisted since.2 Plaintiff, a Delaware domiciliary at the time of filing
this case, advances that she suffered much of this harassment while residing

1 Plaintiff’s Amended Complaint alleges “cyber stalking, harassment, defamation, threats to
her life and safety, and other cyber and online harassment, such crimes and civil tortuous
[sic] acts committed by those defendants as described below.” Doc. 7 at 1.
2 Doc. 7 at 10.




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part time in Louisiana. Defendants are allegedly domiciled in states other than
Delaware.3 Judging by Plaintiff’s briefing and representations to the Court,
Plaintiff’s legal claims appear to be defamation and intentional infliction of
emotional distress.4 Below are the facts from Plaintiff’s First Amended
Complaint that are relevant to the instant Motion and assumed true for
purposes of a motion to dismiss.5
       Plaintiff alleges that Theresa Brunson is an attorney from Pennsylvania
representing and collaborating with groups of internet trolls that have
targeted Plaintiff, including “TCTV” and “The Good Guys.”6 On June 28, 2021,
after Plaintiff reported to YouTube and the police the harassment she suffered
at the hands of these groups, Plaintiff received a cease and desist letter from
Ms. Brunson.7 The letter was sent to Plaintiff’s business in Delaware. Plaintiff
alleges that at the time the letter arrived in Delaware, she was in Louisiana
and received a photo image of the letter.8
       The letter demanded that Plaintiff cease and desist “any and all
harassing activities towards TCTV Podcast/YouTube Channel” and charged
that “[p]revious actions on [Plaintiff’s] part are considered harassment and
harassment by communication under the State of Delaware Criminal Code.”9
After learning of the letter, Plaintiff and Ms. Brunson spoke on the phone,


3 Id. at 4–7. Plaintiff also alleges an amount in controversy in excess of $75,000, exclusive of
interest and costs. Id. at 4.
4 See Doc. 7; Doc. 24 at 49.
5 See Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555–56 (2007).
6 See Doc. 7 at 28.
7 See Doc. 38-1.
8 See Doc. 38 at 5.
9 Doc. 38-1.


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when Ms. Brunson allegedly told Plaintiff that her efforts contacting YouTube
and law enforcement “were examples of [Plaintiff’s] ‘negative behavior’ in
attempting to ‘jail Black men’” and that Plaintiff should immediately stop any
further attempts to do so.10 Plaintiff alleges that Ms. Brunson’s written and
verbal communications amounted to efforts to intimidate and scare Plaintiff
into quitting her attempts to end the harassment from TCTV and others.
       Now before the Court is Ms. Brunson’s Motion to Dismiss.11 Ms. Brunson
seeks dismissal on the grounds that this Court lacks personal jurisdiction over
her.12 Plaintiff opposes.13


                                    LEGAL STANDARD
       When a non-resident defendant challenges the court’s personal
jurisdiction, “the party seeking to invoke the power of the court bears the
burden of proving that jurisdiction exists.”14 When a court rules on a motion to
dismiss for lack of personal jurisdiction without holding an evidentiary
hearing, as in this case, the plaintiff need only make a prima facie showing of
personal jurisdiction.15 “The allegations of the complaint, except insofar as
controverted by opposing affidavits, must be taken as true, and all conflicts in



10 See Doc. 7 at 29.
11 See Doc. 32.
12 Ms. Brunson seeks dismissal on a number of alternative grounds as well, including

improper venue, insufficient process, insufficient service of process, and failure to state a
claim upon which relief can be granted.
13 See Doc. 38.
14 Luv N’care, Ltd. v. Insta–Mix, Inc., 438 F.3d 465, 469 (5th Cir. 2006) (citing Wyatt v.

Kaplan, 686 F.2d 276, 280 (5th Cir. 1982)).
15 Guidry v. U.S. Tobacco, Co., Inc., 188 F.3d 619, 625 (5th Cir. 1999).


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the facts must be resolved in favor of the plaintiff[] for purposes of determining
whether a prima facie case for personal jurisdiction has been established.”16
“In determining whether personal jurisdiction exists, the trial court is not
restricted to a review of the plaintiff’s pleadings.”17 The court may consider
matters      outside    the   complaint,      including     affidavits,     interrogatories,
depositions, or any combination of the recognized methods of discovery.18
       Jurisdiction over a non-resident defendant is proper when (1) the
defendant is amenable to service of process under the long-arm statute of the
forum state and (2) the exercise of personal jurisdiction is consistent with the
Due Process Clause of the Fourteenth Amendment.19 In the instant case,
“these two inquiries merge into one because Louisiana’s long-arm statute
permits service of process coterminous with the scope of the due process
clause.”20
       “The Due Process Clause of the Fourteenth Amendment protects a
corporation, as it does an individual, against being made subject to the binding
judgments of a forum with which it has established no meaningful ‘contacts,
ties, or relations.’” A court may exercise personal jurisdiction over a non-
resident defendant when (1) the defendant has purposefully availed itself of
the benefits and protections of the forum state by establishing “minimum
contacts” with the forum state and (2) exercising personal jurisdiction over the

16 Thompson v. Chrysler Motors Corp., 755 F.2d 1162, 1165 (5th Cir. 1985) (citing DeMelo v.
Toche Marine, Inc., 711 F.2d 1260, 1270 (5th Cir. 1983)).
17 Jobe v. ATR Mktg., Inc., 87 F.3d 751, 753 (5th Cir. 1996).
18 Id. (citing Colwell Realty Invs. v. Triple T. Inns of Ariz., 785 F.2d 1330 (5th Cir. 1986)).
19 Dalton v. R&W Marine, Inc., 897 F.2d 1359, 1361 (5th Cir. 1990).
20 Pervasive Software Inc. v. Lexware GMBH & Co. KG, 688 F.2d 214, 220 (5th Cir. 2012)

(quoting Int’l Shoe Co. v. Washington, 326 U.S. 310, 319 (1945)).

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defendant does not offend “traditional notions of fair play and substantial
justice.”21
      “Minimum contacts” can be established through specific jurisdiction or
general jurisdiction.22 Specific personal jurisdiction exists (1) when a
defendant has purposely directed its activities, or availed itself of the privileges
of conducting its activities, toward the forum state; (2) the controversy arises
out of or is related to those activities; and (3) the exercise of jurisdiction is fair,
just, and reasonable.23 General personal jurisdiction exists when the defendant
has engaged in continuous and systematic activities in the forum state,
regardless of whether such activity is related to the plaintiff’s cause of action.24


                               LAW AND ANALYSIS
      Ms. Brunson argues that this Court lacks personal jurisdiction over
Plaintiff’s claims against her.25 Plaintiff argues that her allegations support
specific or general personal jurisdiction. This Court finds that Plaintiff has not
carried her burden of proving either general or specific personal jurisdiction
over Ms. Brunson. “General jurisdiction exists over a non-resident defendant
when its ‘affiliations with the State are so “continuous and systematic” as to
render them essentially at home in the forum State.’”26 “For an individual, the


21 Latshaw v. Johnston, 167 F.3d 208, 211 (5th Cir. 1999) (quoting Int’l Shoe, 326 U.S. at
316)).
22 Alpine View Co. Ltd. v. Atlas Copco AB, 205 F.3d 208, 215 (5th Cir. 2000).
23 Burger King Corp. v. Rudzewicz, 471 U.S. 462, 472 (1985).
24 Helicopteros Nacionales de Colombia, S.A. v. Hall, 466 U.S. 408, 415 (1984).
25 See Doc. 32-1 at 3–11.
26 Frank v. P N K (Lake Charles) L.L.C., 947 F.3d 331, 336 (5th Cir. 2020) (citing Goodyear

Dunlop Tires Operations, S.A. v. Brown, 564 U.S. 915, 919 (2011)).

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paradigm forum for the exercise of general jurisdiction is the individual’s
domicile.”27 Plaintiff fails to allege any continuous and systematic contacts
between Ms. Brunson and Louisiana; Plaintiff also admits that Ms. Brunson’s
domicile is Pennsylvania. Accordingly, this Court lacks general personal
jurisdiction over Ms. Brunson.
       The result is the same with respect to specific personal jurisdiction.
“When analyzing intentional tort claims, such as defamation, for specific
jurisdiction, the Fifth Circuit applies the ‘effects test’ first formulated in Calder
v. Jones.”28 “Under the ‘effects test,’ an act done outside the state that causes
injury inside the state may support personal jurisdiction if the defendant
‘expressly aimed’ his conduct towards the forum.”29 For example, in Calder, a
Hollywood tabloid published an allegedly libelous story about the actress
Shirley Jones.30 Naming the author of the story and editor of the tabloid as
defendants, Jones sued in California, despite the defendants’ residences in
Florida.31 The Supreme Court held that there was jurisdiction in California
over the defendants because they had “expressly aimed” their conduct towards
California:
       The allegedly libelous story concerned the California activities of a
       California resident. It impugned the professionalism of an
       entertainer whose television career was centered in California.
       The article was drawn from California sources, and the brunt of

27 Goodyear Dunlop Tires Operations, S.A., 564 U.S. at 924.
28 Siddhar v. Varadharajan, No. 4:13–CV–1933, 2014 WL 2815498, at *4 (S.D. Tex. June 20,
2014) (citing Revell v. Lidov, 317 F.3d 467 (5th Cir. 2002) (citing Calder v. Jones, 465 U.S.
783 (1984))).
29 Id. (citing Revell, 317 F.3d at 472).
30 Calder, 465 U.S. at 785.
31 Id.


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      the harm, in terms both of respondent’s emotional distress and the
      injury to her professional reputation, was suffered in California.
      In sum, California is the focal point both of the story and the
      harm.32

The Fifth Circuit has stated that “[w]e read Calder as requiring the plaintiff
seeking to assert specific personal jurisdiction over a defendant in a
defamation case to show ‘(1) the subject matter of and (2) the sources relied
upon for the article were in the forum state.’”33
      Taking Plaintiff’s allegations as true, and resolving all factual disputes
in her favor, the Court finds that Ms. Brunson did not “expressly aim” the
statements in her cease and desist letter at Louisiana. The letter mentions
“harassing activities” and other “actions that have been injurious towards
TCTV Podcast/YouTube Channel,” but there is no allegation that Ms. Brunson
understood these statements to be referencing activities that Plaintiff carried
out in Louisiana. In fact, given that the letter was sent to a Delaware address
and accused Plaintiff of violating Delaware laws, it appears that Ms. Brunson
believed Plaintiff was in Delaware at all relevant times. Although Plaintiff
alleges that after receiving the letter, she told Ms. Brunson on the phone that
she was in Louisiana, not Delaware, that information has no bearing on where
Ms. Brunson directed statements in a letter sent days before that conversation.
In sum, there is no allegation that Ms. Brunson knew that her allegedly
defamatory and harassing letter concerned Louisiana activities, that the letter



 Id. at 788–89.
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 Clemens v. McNamee, 615 F.3d 374, 380 (5th Cir. 2010) (quoting Fielding v. Hubert Burda
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Media, Inc., 415 F.3d 419, 426 (5th Cir. 2005)).

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drew upon Louisiana sources, or that it was directed at a Louisiana audience.
Although Plaintiff does allege that she suffered the harm caused by the letter
in Louisiana, that alone is not enough to support specific jurisdiction under the
effects test of Calder.34


                                       CONCLUSION
       For the foregoing reasons, IT IS ORDERED that Ms. Brunson’s Motion
to Dismiss (Doc. 32) is GRANTED. Plaintiff’s claims against Ms. Brunson are
hereby DISMISSED WITHOUT PREJUDICE.35


               New Orleans, Louisiana this 8th day of April, 2022.




                                              ____________________________________
                                              JANE TRICHE MILAZZO
                                              UNITED STATES DISTRICT JUDGE




34 See Herman v. Cataphora, Inc., 730 F.3d 460, 465 (5th Cir. 2013) (“A plaintiff’s suffering
damage in the forum state is part of the calculus, but for minimum contacts to be present the
allegedly defamatory statements must be adequately directed at the forum state. Even if the
majority of the claimed harm is felt in the forum state, this court has declined to find personal
jurisdiction when the statements focus on activities and events outside the forum state.”)
(citation omitted).
35 See ITL Intern, Inc. v. Cafe Soluble, S.A., 464 Fed. Appx. 241, 244 (5th Cir. 2012) (“Mars

correctly insists that a dismissal ‘for lack of jurisdiction’ does not ‘operate[ ] as an adjudication
on the merits’ and thus should have been without prejudice.”) (citations omitted).

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